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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION

LBS INNOVATIONS, LLC,                §
       Plaintiffs,                   §
                                     §
v.                                   § CASE NO. 2:11-cv-407-JRG
                                     § LEAD CASE
BP AMERICA, INC., et al.,            §
      Defendants.                    §
                                     §
                                     §

LBS INNOVATIONS, LLC,                §
       Plaintiffs,                   §
                                     §
v.                                   § CASE NO. 2:11-cv-409-JRG
                                     §
SALLY BEAUTY SUPPLY LLC, et al.,     §
       Defendants.                   §
                                     §
                                     §

LBS INNOVATIONS, LLC,                §
       Plaintiffs,                   §
                                     §
v.                                   § CASE NO. 2:12-735-JRG
                                     §
ALFRED ANGELO, INC., et al.,         §
      Defendants.                    §
                                     §
                                     §

MICROSOFT CORPORATION,               §
      Plaintiffs,                    §
                                     §
v.                                   § CASE NO. 2:12-cv-759-JRG
                                     §
LBS INNOVATIONS LLC and              §
LBS INNOVATIONS LLC, a Texas LLC,    §
       Defendants.                   §
                                     §


                            CONSOLIDATION ORDER
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       The passage of the Leahy-Smith America Invents Act (“AIA”), which clarified the joinder

requirements for cases alleging patent infringement, has resulted in a significant increase in the

number of “serially” filed patent cases on the Court’s docket. Similarly, the Federal Circuit’s

recent In re EMC Corp. decision leads to a nearly analogous result for pre-AIA filings because

multi-defendant cases may be severed “[u]nless there is an actual link between the facts underlying

each claim of infringement.” 677 F.3d 1351, 1360 (Fed. Cir. 2012). Such serially filed or

severed cases, by their nature, involve common issues of law or fact, including claim construction

and validity. “If actions before the Court involve a common question of law or fact, the court

may: (1) join for hearing or trial any or all matters at issue in the actions; (2) consolidate the

actions; or (3) issue any other orders to avoid unnecessary cost or delay.” Fed. R. Civ. P. 42(a).

In applying Rule 42, a court has considerable discretion. In re EMC Corp., 677 F.3d at 1360; see

also Lurea v. M/V Albeta, 625 F.3d 181, 194 (5th Cir. 2011) (“Rule 42(a) provides district courts

with broad authority to consolidate actions that ‘involve a common question of law or fact.’”).

       Accordingly, each of the above-captioned cases are hereby ORDERED to be

CONSOLIDATED for all pretrial issues (except venue) with the first-filed action, Cause No.

2:11-cv-407. All parties are instructed to file any future motions (except relating to venue) in the

first-filed case. Individual cases remain active for venue determinations and trial. The Court

will enter one docket control order, one protective order, and one discovery order that will govern

the entire consolidated case. The local rules’ page limitations for Markman briefs and other

motions will apply to the consolidated case. To further promote judicial economy and to

conserve the parties’ resources, the Court encourages the parties to file a notice with the Court in

the event that there are other related cases currently pending on the Court’s docket that may also be
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appropriate for consolidation with this case.

        This Order relieves the parties to the Alfred Angelo action (2:11-cv-735) of their obligation

to engage in a Rule 26(f) conference. For the purposes of clarity, consistency and efficiency, the

Court sets the following Markman hearing, pretrial conference and jury selection dates to apply to

all parties to the consolidated action, regardless of whether they have yet responded to the

complaint:
         .
                Markman Hearing:                June 6, 2013 at 1:30 pm

                Pre-Trial Conference:           December 17, 2013 at 1:30 pm

                Jury Selection:                 January 6, 2014 at 9:00 am

The parties are ORDERED to submit revised docket control and discovery orders, reflecting the

dates above and consistent with the format shown on the undersigned’s website, within seven (7)

days.

              SIGNED this 19th day of December, 2011.
             So ORDERED and SIGNED this 11th day of February, 2013.




                                                                ____________________________________
                                                                RODNEY GILSTRAP
                                                                UNITED STATES DISTRICT JUDGE
